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EXHIBIT 1
Case 2:10-md-02179-CJB-DPC Document 4143-1 Filed 09/29/11 Page 2of3

Hunter, Faleen

From: Mike_OKeefe@laed.uscourts.gov

Sent: Tuesday, September 20, 2011 9:53 AM

To: York, R. Alan

Ce: andrew. langan@kirkland.com; Godwin, Donald; Don K Haycraft
Subject: RE: Halliburton's Motion for Leave to Amend (Rec. doc. 3893)

Alan: That will be fine. Mike

From: "York, R. Alan" <AYork@GodwinRonquillo.com>

To: <Mike_OKeefe@Iaed.uscourts.gov>, "Godwin, Donald" <DGodwin@GodwinRonquillo.com>
Ce: <andrew langan@kirkland.com>, "Don K Haycraft" <dkhaycraft@liskow.com>

Date: 09/20/2011 09:11 AM

Subject: RE: Halliburton's Motion for Leave to Amend (Rec. doc. 3893)

Mike:

Yes Halliburton does plan to file a reply. For a couple of reasons, including that a couple of our key team
members are in London for depositions this week, we would like to file our reply by next Thursday, September
29, if that is acceptable.

Thanks.

Alan

R. Alan York
Board Certified - Civil Appellate Law
Texas Board of Legal Specialization

1331 Lamar, Suite 1665

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From: Mike_OKeefe@laed.uscourts.gov [mailto:Mike OKeefe@laed.uscourts.gov]
Sent: Tuesday, September 20, 2011 8:07 AM

To: York, R. Alan; Godwin, Donald
Cc: andrew.langan@kirkland.com; Don K Haycraft
Subject: Halliburton's Motion for Leave to Amend (Rec. doc. 3893)

Don and Alan:

BP filed its opposition yesterday (Rec. doc. 4067). Will Halliburton file a reply? If so, please let me know when you
anticipate filing it.

Mike

9/29/2011
